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                                 2023CV00526                            e-Filed 6/19/2023 1:32 PM




                                                                                                        Tiki Brown
                                                                                               Clerk of State Court
                         IN THE STATE COURT OF CLAYTON COUNTY                             Clayton County, Georgia
                                                                                                    Cornelia Ramsey
                                   STATE OF GEORGIA

  RONALD WRIGHT

                  Plaintiff,

          v.                                                      CIVIL ACTION FILE NO.
                                                                  2023CV00526
   SANCHEZ ARREDONDO and COBRA
   CARRIER, LLC,

                  Defendants.



                                     CERTIFICATE OF SERVICE

       This certifies that I have served all parties of record with copies of Plaintiff RONALLD

WRIGHT’s Responses to Defendants’ First Interrogatories and First Request for Production of

Documents by electronic service addressed to counsel of record.

                                     Robyn Roth, Esq.
                               Fain, Major & Brennan, P.C.
                                 5605 Glenridge Drive NE
                                         Suite 900
                                  Atlanta, Georgia 30342
                                   rroth@fainmajor.com


                               (Signature is on the next page.)


This 19th Day of June, 2023.




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                               2023CV00526




MORGAN & MORGAN ATLANTA, PLLC               /s/ Edward Hardrick_____
178 S Main Street, Unit 300                 Edward J. Hardrick, Esq.
Alpharetta, Georgia 30009                   Georgia Bar No. 606792
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                     IN THE STATE COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA

RONALD WRIGHT,                                 )
                                               )
               Plaintiff,                      )      CIVIL ACTION FILE NO.: 2023CV00526
       v.                                      )
                                               )
SANCHEZ ARREDONDO and                          )
COBRA CARRIER, LLC,                            )
                                               )
               Defendants.                     )

       PLAINTIFF’S RESPONSE TO DEFENDANTS’ FIRST INTERROGATORIES TO
                                 PLAINTIFF

       COMES NOW, Plaintiff RONALD WRIGHT, in the above-styled civil action, and

serves this, his responses to, Defendants’ First Interrogatories to Plaintiff under O.C.G.A. §§ 9-

11-33, 9-11-34.

                                   GENERAL OBJECTIONS

       Plaintiff’s investigation and discovery in this matter are continuing, and Plaintiff reserves

the right to supplement, modify, or amend these responses, if necessary, to conform to facts and

evidence. All rights of the Plaintiff are expressly reserved and nothing in the responses that

follow is intended as or serves as a waiver of any and all rights of the Plaintiff consistent with the

Georgia Civil Practice Act.

       Plaintiff objects to Defendants’ Interrogatories and accompanying instructions and

definitions to the extent that they seek to impose any obligation on the Plaintiff, for

supplementation or otherwise, beyond that required by the Georgia Civil Practice Act.

       Plaintiff objects to Defendants’ Interrogatories to the extent that they seek information or

documents protected by the attorney-client privilege or the work product doctrine, or to the

extent that they are overly broad or unduly burdensome.

       Subject to and without waiving the foregoing objections, Plaintiff responds to each

interrogatory as follows:
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                                   INTERROGATORY NO. 1

       Please state your full name, marital status (and spouse’s full name), your social security

number, date of birth, cell phone number and present street address.

RESPONSE:

       Plaintiff objects to this interrogatory as it calls for Plaintiff’s social security number

which is irrelevant to any issue herein, and is not reasonably calculated to lead to the

discovery of admissible evidence. Subject to the foregoing and without waiving the same,

Plaintiff responds as follows:

       Name: Ronald Wright

       Martial Status: Married

       Spouse’s Name: Angelene Wright

       Due to privacy concerns, Plaintiff will only provide the last four digits of his social

security number (XXX-XX-5714).

       Date of Birth: 11/21/1950

       Cell Phone Number: (678) 200-0743

       Street Address: 6029 Dan Drive Ellenwood, Georgia 30294

                                   INTERROGATORY NO. 2

       Please state the names, addresses, and telephone numbers of any relatives that you have

who live in Clayton County, Georgia.

RESPONSE:

       Plaintiff states that his sister, Wilma Mahone lives in Forest Park, Georgia (Clayton

County) but he is unable to recall her address. Plaintiff states that Ms. Mahone’s telephone

number is (404) 205-5359.
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                                   INTERROGATORY NO. 3

       What are the names, addresses, home telephone numbers, places of employment, and

present whereabouts of all witnesses known to you who saw or claim they saw all or any part of

the occurrence complained of in this action?

RESPONSE:

       Plaintiff objects to this Interrogatory on the grounds that it seeks information that

has been gathered in anticipation of litigation and is therefore protected by the

attorney/client privilege and/or work product doctrine. Without waiving this objection and

subject thereto, Plaintiff states that he is unaware of any eyewitness to the incident, with

the exception of any individuals identified in the police report/incident report.



                                   INTERROGATORY NO. 4

       What are the names, addresses, home telephone numbers, places of employment, and

present whereabouts of all witnesses known to you who arrived at the scene of the occurrence

complained of in this action immediately or shortly after its occurrence?

RESPONSE:

       Plaintiff objects to this Interrogatory on the grounds that it seeks information that

has been gathered in anticipation of litigation and is therefore protected by the

attorney/client privilege and/or work product doctrine. Without waiving this objection and

subject thereto, Plaintiff states that he is unaware of any eyewitness to the incident, with

the exception of any individuals identified in the police report/incident report.
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                                      INTERROGATORY NO. 5

       What are the names, addresses, home telephone numbers, places of employment, and

present whereabouts of all persons known to you who have knowledge of relevant information,

facts, or circumstances in this case?

RESPONSE:

       Plaintiff refers Defendants to the healthcare practitioners listed in his medical

records provided in response to Defendants’ Request for Production of Documents. Subject

to said and without waiving the same: Dong Wang, M.D., 1266 West Paces Ferry Road,

Suite 332 Atlanta, GA 30327; Michael Baens, PTA, 2838 E. Atlanta Road, Ste. 2 Ellenwood,

GA 30294; Jay Sung Park, D.O., 2200 Century Parkway NE, Ste. 600 Atlanta, GA 30345;

Dr. LaTai Brown, 4294 Memorial Drive, Ste. D1 Decatur, GA 30032.



                                      INTERROGATORY NO. 6

       With respect to each physician or other practitioner of the healing arts, if any, whom you

have seen or been treated by in reference to the injuries you claim you sustained in your

complaint, please state as to each:

       (a) The name and address of said physician;
       (b) On what date or dates you were seen by said physician;
       (c) The name of the treatment you received; and
       (d) The charge made for such treatment.


RESPONSE:

       Plaintiff refers Defendants to the healthcare practitioners listed in his medical

records provided in response to Defendants’ Request for Production of Documents. Subject

to the foregoing statement and without waiving the same, Plaintiff states:
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       (a) Dong Wang, M.D., 1266 West Paces Ferry Road, Suite 332 Atlanta, GA 30327;

           Michael Baens, PTA, 2838 E. Atlanta Road, Ste. 2 Ellenwood, GA 30294; Jay

           Sung Park, D.O., 2200 Century Parkway NE, Ste. 600 Atlanta, GA 30345; Dr.

           LaTai Brown, 4294 Memorial Drive, Ste. D1 Decatur, GA 30032

       (b) 3/3/2023, 3/17/2023, 4/14/2023 4/21/2023; 3/9/2023, 3/13/2023, 3/15/2023,

           3/20/2023, 3/22/2023, 3/27/2023, 4/3/2023, 4/10/2023, 4/17/2023, 5/2/2023;

           2/14/2023; 3/24/2023

       (c) Trigger Point Injection of the Right Cervical Paraspinal muscles, Trapezius

           muscle and medial scapular muscles; Physical Therapy; MRI of the Lumbar and

           Cervical Spine; Neurological Testing.

       (d) $3,998.00; $3,514.00; $4,595.00; $21,012.00.



                                       INTERROGATORY NO. 7

       If you were hospitalized as a result of the injuries alleged in your complaint; please state

in relation to such hospitalization:

     (a) The name and location of said hospital;
     (b) The date or dates of such hospitalization;
     (c) The nature of the treatment rendered during the period of hospitalization;
     (d) The itemized charges incurred as a result of said hospitalization; and
     (e) If any hospital liens have been filed, please identify and state whether or not they
         have been satisfied.
RESPONSE:

       Plaintiff directs the Defendant to responses in Interrogatory number 6.


                                       INTERROGATORY NO. 8

       On the date of the incident complained of in the complaint, please describe your

occupational and/or employment status, including but not limited to, the nature of your
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occupation(s), your earnings in such occupation(s), and the respective dates that you had such

occupation(s) and such employer(s) with such duties and such earnings.

RESPONSE:

       Plaintiff states that he was not working at the time of the wreck. However, he was

doing volunteer work coaching recreational basketball and soccer since around 2019 until

he quit volunteering after the wreck.

                                   INTERROGATORY NO. 9

       If there has been any change in your occupation(s), employer(s), duties or earnings from

the time referred to in the preceding interrogatory to the time of answering these interrogatories;

please describe with specificity each such change.

RESPONSE:

       Plaintiff refers Defendant to his response to Interrogatory number 8.



                                  INTERROGATORY NO. 10

       If your alleged injuries have prevented you from working at any time since the date of the

incident complained of:

       (a) State the date or dates that you were unable to work because of your injuries;
       (b) State what earnings, if any, you lost by reason of each such date of not working;
       (c) State whether you have received any payment (workers’ compensation, sick leave
           pay, disability insurance, income protection insurance, or other) on account of any
           such loss of time from work or loss of earnings; and
       (d) If your answer to subparagraph (c) above is affirmative, please state the amount and
           source of each such payment and explain each such payment.

RESPONSE:

   a) Plaintiff directs the defendant to Interrogatory number 9.

   b) Plaintiff directs the defendant to Interrogatory number 9.

   c) Plaintiff states that he has not received any payments or compensation.
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                                   INTERROGATORY NO. 11

       What period of time do you claim you were disabled as a result of the injuries you allege

that you sustained on the date of the occurrence complained of in this action?

RESPONSE:

       Plaintiff states he is not disabled, just injured.



                                   INTERROGATORY NO. 12

       What permanent disability, if any, do you claim as a result of the injuries you claim to

have sustained on the date of the occurrence complained of in this action?

RESPONSE:

       Plaintiff states there is no permanent disability sustained on the date of the

occurrence complained in this action.

                                   INTERROGATORY NO. 13

       With respect to the last date of treatment you received by any physician or other

practitioner of the healing arts as a result of the injuries alleged in your complaint, please state

the date and name and address of said physician and the nature of such treatment.

RESPONSE:

       Plaintiff directs the defendant to Interrogatory number 6.



                                   INTERROGATORY NO. 14

       If you have ever been in a prior or subsequent accident of any type where property

damage or personal injury was sustained, please describe each such occurrence, including but not

limited to, the type of accident, the date, the people involved and location thereof, and the type of

damage or injury.
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RESPONSE:

       Plaintiff states that he was involved in a car wreck around four or five years ago on

Mount Zion Boulevard Morrow/Jonesboro, Georgia. Plaintiff is unable to recall the exact

location. He suffered bodily injury (his neck and back) and property damage to his truck.



                                  INTERROGATORY NO. 15

       If you have ever been arrested, state the date, place, and charges made in each such arrest

and, if convicted, the date thereof and the court in which such charges were brought.

RESPONSE:

       Plaintiff states that he has never been arrested.



                                  INTERROGATORY NO. 16

       Other than as fully shown in your answers to preceding interrogatories, if you ever

underwent any surgery before the date of the incident complained of, please describe each such

surgery with specificity, including but not limited to, the date, the place where the surgery was

performed, the nature of the surgery, and the attending surgeon and other physicians.

RESPONSE:

       Plaintiff states that he never underwent any surgery before the date of the wreck

which is the subject incident of these Interrogatories.

                                  INTERROGATORY NO. 17

       Other than as fully shown in your answers to the preceding interrogatories, please state

what medical, psychiatric, chiropractic, or therapeutic care or treatment you received before the

date of the incident complained of and the date of each such care or treatment.
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RESPONSE:

       Plaintiff states that he received a routine physical examination by Dr Curtis

Champion, unsure of the date prior to the subject incident and he went to his Urologist, Dr.

Benjamin Lee around January 2023.

                                   INTERROGATORY NO. 18

       To your knowledge, information, or belief, if any of the hospitals or any of the

physicians, surgeons, or chiropractors (or other practitioners of any healing art) made any

report, statement, or bill concerning your examination or treatment, please describe each such

report, statement, or bill with specificity, including but not limited to the date, the person making

the report, etc., the form of the report, etc. (whether oral or written), the subject, the substance

and contents of the report, etc., and the location of the report, etc., and the name of the person

having custody, possession, or control.

RESPONSE:

       Plaintiff objects to this Interrogatory to the extent that it asks for a specific medical

diagnosis that Plaintiff is not qualified to give. Without waiving the foregoing objection,

Plaintiff states the following and must refer Defendant to the medical records in response

to Defendant’s request for descriptions of each examination, as the medical provider is best

qualified to describe the examinations they provided.



                                   INTERROGATORY NO. 19

       Will you voluntarily produce each such report, etc., and permit its inspection and copying

by this defendant?

RESPONSE:

       Any relevant medical report and record will be produced herewith. Plaintiff

reserves the right to supplement this response.
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                                     INTERROGATORY NO. 20

       If you have suffered any injury to your body (other than the injuries that you claim to

have suffered in this action), describe each such injury, giving the nature, extent, cause, and date

thereof.

RESPONSE:

       Plaintiff directs Defendant to Interrogatory number 17.



                                     INTERROGATORY NO. 21

       If you have made any claim for personal injury, uninsured motorist protection, property

damage, hospitalization, medical expense, or disability (other than the claims made in this

action), please describe each such claim giving the basis for each such claim, the date of each

such claim, the amount so claimed, and the person, partnership, or corporation against whom

each such claim was made.

RESPONSE:

       Plaintiff states that he made a personal injury claim after getting into an auto wreck

about four or five years ago. Plaintiff is unable to recall against whom the claim was made.



                                     INTERROGATORY NO. 22

       If you have been a party to any action (other than this action), please describe each such

action, giving the date of each such action, the court in which it was brought, and the names of

other parties to each such action.

RESPONSE:

       Plaintiff refers Defendant to his response to Interrogatory number 21.
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                                  INTERROGATORY NO. 23

       Since the date of the incident complained of, if you have been given any physical

examination (whether in connection with employment or application for insurance or entrance to

any school or the armed forces or otherwise) which you have not referred to in your answers to

these interrogatories, please describe each such examination with specificity, including but not

limited to, the date, the place, the person making the examination, and the purpose of the

examination.

RESPONSE:

       Plaintiff refers the Defendant to his response to Interrogatory number 6.



                                  INTERROGATORY NO. 24

       To your knowledge, information, or belief, are there any photographs or drawings of the

scene of the incident complained of, any vehicle or other physical object involved in the incident,

or any person (including any party) involved in the incident?

RESPONSE:

       Plaintiff directs the Defendant to the photographs and police report provided in

response to Defendant’s First Request for Production of Document to Plaintiff.



                                  INTERROGATORY NO. 25

       If so, please describe each individual photograph or drawing with specificity, including,

but not limited to, the date made, by whom it was made, the form (whether photographic prints,

transparency, diagram, plat, etc.), the subject represented, all facts represented or shown, and the

present location and the name of the person having possession, custody or control.
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RESPONSE:

       Plaintiff directs the Defendant to the photographs and police report provided in

response to Defendant’s First Request for Production of Document to Plaintiff.

                                   INTERROGATORY NO. 26

       Will you voluntarily produce each such photograph or diagram and permit its inspection

or copying by this defendant?

RESPONSE:

       Plaintiff will produce the police report and photographs herewith.




                                   INTERROGATORY NO. 27

       To your knowledge, information, or belief, if there has been any judicial hearing (whether

the trial of traffic charges, a commitment hearing, inquest, previous trial, or otherwise)

concerning the incident complained of, please describe each such hearing with specificity,

including but not limited to, the date, the place, the persons present, the nature of the hearing, the

statement for testimony of each person making any statement or testifying, a description of any

documentary evidence offered or received, the name and address of any person reporting and/or

transcribing the hearing, the present location of such transcript or copies thereof, and the name of

the person or persons having possession, custody or control of such transcript or copies thereof.

RESPONSE:

       Plaintiff is not aware of any judicial hearings concerning the subject incident.

Plaintiff reserves the right to supplement this response.
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                                  INTERROGATORY NO. 28

       Please itemize all special damages that you claim for medical expenses. If you have any

medical payments coverage, please identify what expenses have been paid by your own medical

payments coverage carrier. If none have been paid, please state why not.

RESPONSE:

       Plaintiff objects to this Interrogatory on the grounds that it calls for mental

impressions, trial strategy, conclusions and legal theories of this Plaintiff, its

representatives and legal counsel and is therefore protected by the work product doctrine.

Without waiving this objection and subject thereto, Plaintiff responds that discovery is just

beginning. Plaintiff reserves the right to supplement her response to this Interrogatory

upon completion of further investigation and discovery.

       At this time, Plaintiff lists the following damages:

Atlanta Spine Institute                                                             TBD

United Neurology                                                                    $21,012.00

Benchmark Physical Therapy                                                          $3,514.00

TBI Diagnostic Centers of Georgia, LLC                                              TBD

American Health Imaging                                                             $4,595.00

Plaintiff reserves the right to supplement this response.



                                  INTERROGATORY NO. 29

       Pursuant to the provisions of O.C.G.A. §9-11-26 (b)(4)(A)(i), Plaintiff is requested to

identify each person whom plaintiff expects to call as an expert witness at trial, state the subject

matter on which such expert is expected to testify, and state the substance of the facts and

opinions to which the expert is expected to testify and the summary of the grounds of each

opinion.
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RESPONSE:

       Plaintiff objects to this Interrogatory to the extent it requests the identity and

opinions of any expert witness who is not expected to be called as a witness for trial. The

identity of any expert who has been employed by Plaintiff to examine any aspect of the

occurrence which is the subject of this suit, but who is not expected to be called at trial is

not discoverable except upon a showing of exceptional circumstances. O.C.G.A. § 9-11-

26(b)(4)(b).

       Plaintiff places Defendant on notice that he may call on the Plaintiff’s physicians

and medical providers for expert opinions regarding his injuries, treatment and/or

prognosis. Plaintiff has not yet identified any additional expert witnesses expected to testify

at trial. If one is so retained, the expert information will be provided by supplemental

response.

                                  INTERROGATORY NO. 30

       If you have retained or employed an expert in anticipation of litigation or preparation for

trial who is not expected to be called as a witness at trial, please identify and state specifically

the name and address of each such expert.

RESPONSE:

       Plaintiff refers Defendant to his response to Interrogatory number 30.



                                  INTERROGATORY NO. 31

       Please identify all sources of compensation, indemnity, insurance (other than life

insurance), wage loss replacement, income replacement, or disability benefits or payments

available to you from any and all governmental or private sources which have been received by

you or which have been paid or will be payable to you or on your behalf for the damages or

injuries sustained in the incident which forms the subject of your complaint. As to each such
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source, state the amount of payment received by you or to be received by you, or which has been

paid on your behalf or which is payable on your behalf.

RESPONSE:

       Plaintiff objects to this Interrogatory on the grounds that it requests information

barred by the collateral source rule which prevents a defendant from presenting any

evidence as to payments of expenses of a tortious injury paid for by a third party or taking

any credit toward the defendant’s liability and damages for such payments. Hoeflick v.

Bradley, 282 Ga. App. 123, 124 (2006). As such the requested information is irrelevant and

neither admissible at trial nor reasonably calculated to lead to the discovery of admissible

evidence. Without waiving said objection and subject thereto, Plaintiff states that he has

not received any sources of compensation for damages or injuries sustained in the wreck

referenced in the subject of Plaintiff’s Complaint.




                                 INTERROGATORY NO. 32

       Please provide your email address, the account/username for each and every social media

account you had from the date of the incident to the present time, including but not limited to,

Facebook, Twitter, Instagram, Snapchat, YouTube, Google, LinkedIn, TikTok, etc.

RESPONSE:

       Plaintiff objects to this Interrogatory on the grounds that it is irrelevant and not

reasonably calculated to lead to the discovery of admissible evidence. Plaintiff’s listing of

each and every single social media account that he has, whether for work or personal

matters, is not relevant nor reasonably calculated to lead to the discovery of admissible

evidence. Further, this request is vague as it does not define “used with any degree of

frequency”. Defendant is unclear if Plaintiff’s looking at a social network site (SNS) one
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time is considered use, if Defendant wants to know if Plaintiff has any accounts with any

SNS, or if Defendant is asking only regarding personal or professional use of SNS.



                                  INTERROGATORY NO. 33

       Please produce your Facebook profile. (In order to create the zip file that contains the

profile, please sign on to your Facebook account and click on the “account” button at the top

right side of your Facebook page. Click on “account settings” on the toolbar that opens up. On

this newly opened screen, click on the “learn more” button by the “download your information”

section. Click on the download button. Facebook will then compile the zip file and e-mail a

notification to you with a link in the e-mail that will allow you to download the Facebook file.

This process takes between 30-90 minutes, depending on the size of the profile. Please save this

profile to CD, DVD, or USB drive and provide it as your response.)

RESPONSE:

       Plaintiff objects to this Interrogatory on the grounds that it is irrelevant and not

reasonably calculated to lead to the discovery of admissible evidence. Plaintiff’s listing of

each and every single e-mail address that she has, whether for work or personal matters, is

not relevant nor reasonably calculated to lead to the discovery of admissible evidence.

Further, this request is vague as it does not define “used with any degree of frequency”.

Defendant is unclear if Plaintiff’s looking at a social network site (SNS) one time is

considered use, if Defendant wants to know if Plaintiff has any accounts with any SNS, or if

Defendant is asking only regarding personal or professional use of SNS.



                                  INTERROGATORY NO. 34

       Please provide the tagged photographs on your profile (you must open each picture

individually, right click on the picture, and save it on the same media referenced above). For any
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tagged photographs that are not produced, please create a privilege log describing said

photographs and the basis of the asserted privilege.

RESPONSE:

       Plaintiff objects to this request on the grounds that it is overbroad, unduly

burdensome, and is intended to annoy, embarrass, and oppress the Plaintiff rather than

obtain information calculated to the discovery of admissible evidence, as it seeks

information regardless of whether or not they relate to the issues in the instant litigation

As worded, this request is unlimited in time and scope and seeks all information ever

posted by Plaintiff, or posted about him, or “tagged” by someone else about him, even if

done so without his consent or knowledge or acquiescence.

   Plaintiff objects to this Request on the grounds that it is overly broad and seeks

information that is neither relevant, nor reasonably calculated to lead to the discovery of

admissible evidence. Courts routinely deny requests that amount to no more than fishing

expeditions for discovery of private social media information where the party fails to make

a threshold showing to the relevancy of any information contained on an individual's

private social networking websites, internet usage or email addresses. The mere hope that

Plaintiff’s private electronic communication might include an admission against interest,

without more, is not a sufficient reason to require Plaintiff to provide Plaintiff open access

to his private communications with third parties. E.g., Salvato v. Miley, No. 5:12-CV-635-

Oc-10PRL, 2013 WL 2712206, at *2 (M.D. Fla. June 11, 2013). Defendant has no

generalized right to rummage at will through information that Plaintiff has limited from

public view. See, Jewell v. Aaron’s, Inc., No. 1:12-CV-563, 2013 WL 3770837, at *3-*5

(N.D. Ga. July 19, 2013).

   Plaintiff further objects on the grounds that this request seeks information not in the

possession, custody, and control of the Plaintiff, as Plaintiff cannot control or determine the
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extent to which information exists about her which was not posted or authored by her on

any social networking website in the past. Plaintiff further objects to this request on the

grounds that it constitutes an unwarranted invasion of her constitutional right to privacy

under the Georgia and Federal Constitutions. Plaintiff also asserts all rights available to

her pursuant to 18 U.S.C. §§ 2511, 2520, 2701‐2703, the Stored Communications Act. See,

Crispin v. Christian Audigier, Inc. 717 F.Supp.2d 965 (C.D. Cal. 2010).

    Furthermore, Plaintiff objects to the use of any of the materials sought or described in

this request to the extent they have been obtained improperly, unlawfully, and/or in

violation of Georgia Rules of Professional Conduct.

        The sole distinction between rummaging through the Plaintiff’s personal

photographs and correspondences online and going into the Plaintiff’s home and tearing

through photo albums and letters is ease of access for the defense. Invading a claimant’s

home to scavenge these documents at will, with no predicate other than a fishing expedition

of possibly finding documents that will bolster the defense, is clearly improper; yet the

defense purports to conduct the exact same privacy pillaging online.

        In accordance with the foregoing objections, Plaintiff will not produce the requested

information without an appropriate order from the Court.



                                 INTERROGATORY NO. 35

        Please provide your Twitter archive. (To get your archive, go to the Settings area and

look for the “Your Twitter archive” feature. A link will be emailed to you that leads to a page

within Twitter where you can complete the download. After clicking download, a zip file will be

downloaded. When you open that file, you will see a “readme” file with instructions. Please

provide this zip file.)
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RESPONSE:

       Plaintiff objects to this Interrogatory on the grounds that it is irrelevant and not

reasonably calculated to lead to the discovery of admissible evidence. Further, this request

is vague as it does not define “used with any degree of frequency”. Defendant is unclear if

Plaintiff’s looking at a social network site (SNS) one time is considered use, if Defendant

wants to know if Plaintiff has any accounts with any SNS, or if Defendant is asking only

regarding personal or professional use of SNS.

                                  INTERROGATORY NO. 36

       Please produce a copy of your Instagram profile, including any and all photographs and

comments posted thereto.

RESPONSE:

       Plaintiff objects to this Interrogatory on the grounds that it is irrelevant and not

reasonably calculated to lead to the discovery of admissible evidence. Further, this request

is vague as it does not define “used with any degree of frequency”. Defendant is unclear if

Plaintiff’s looking at a social network site (SNS) one time is considered use, if Defendant

wants to know if Plaintiff has any accounts with any SNS, or if Defendant is asking only

regarding personal or professional use of SNS.



                                  INTERROGATORY NO. 37

       Please describe the accident in detail.

RESPONSE:

       Plaintiff states that on or about January 30, 2023, Plaintiff was operating his vehicle

in a safe and prudent manner in Clayton County, Georgia. At the same time, Defendant

Sanchez was driving a 2000 Peterbilt 379 tractor-trailer traveling North on North Parkway

in the far left lane preparing to turn left on Georgia Hwy 331 in Clayton County when he
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negligently and recklessly operated his vehicle by completing an improper left turn and

colliding into Plaintiff’s vehicle.



                                      INTERROGATORY NO. 38

       Please list all injuries you are claiming as a result of the accident.

RESPONSE:

       Plaintiff objects to this Interrogatory on the grounds that it calls for medical

theories and conclusions of which Plaintiff is not qualified to give. Without waiving said

objection and subject thereto, please see requisite medical records and bills attached. By

way of further response, Plaintiff states that he suffers from lower/upper neck pain, lower

back pain and headaches.



                                      INTERROGATORY NO. 39

       Please state all health insurance coverage providing coverage for you presently and for

the past 5 years.

RESPONSE:

       Plaintiff objects that this Interrogatory request information barred by the collateral

source rule which prevents a defendant from presenting any evidence as of payments of

expenses of a tortious injury paid for by a third party or taking any credit toward the

defendant’s liability and damages for such payments. Hoeflick v. Bradley, 282 Ga. App.

123, 124 (2006). As such, the requested information is irrelevant and neither admissible at

trial nor reasonably calculated to lead to the discovery of admissible evidence. Without

waiving this objection and subject thereto, Plaintiff states he has United Healthcare –

Medicare.
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                                 INTERROGATORY NO. 40

       Did you have a cell phone in your possession at the time of the accident? If so, please

provide the cell phone number, service provider and the name of the account holder.

RESPONSE:

       Plaintiff states that he was in possession of his cell phone at the time of the incident.

       Cell Phone Number: (678) 559-2917
       Carrier/service Provider: T-Mobile
       Account Holders Name: Ronald Wright


                                 INTERROGATORY NO. 41

       Please provide the following information about yourself;

       (a) Date of birth;
       (b) Social Security Number or your health insurance claim number (“HICN”);
       (c) Gender.

   This information and the information outlined in interrogatory #42 and 43 are necessary so

that the defendant or any insurer of the defendant can comply with the Medicare regulations. See

42 U.S.C. 1395(y)(b)(8) otherwise known as Medicare, Medicaid and S-CHIP Extension Act of

2007 (“MMSEA”), Section 111.

RESPONSE:

       Plaintiff objects to this interrogatory as it calls for Plaintiff’s social security number,

which is irrelevant to any issue herein, and is not reasonably calculated to lead to the

discovery of admissible evidence. Subject to the foregoing and without waiving the same,

Plaintiff responds as follows:

       (a) Date of birth: 11/21/1950
       (b) Social Security Number: Due to privacy concerns, Plaintiff will only disclose the
           last four digits of his social security number XXX-XX-5714.
       (c) Gender: Male
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                                   INTERROGATORY NO. 42

   Are you currently a Medicare beneficiary? If so, Please identify any and all amounts that

have been paid by Medicare in satisfaction of medical expenses from any healthcare provider

involved in the treatment of your injuries you are claiming in this lawsuit. Please outline any

communications that you have had with Medicare and specifically any Medicare secondary

payor contractor regarding their lien.

RESPONSE:

       Plaintiff has United Healthcare - Medicare; however, Plaintiff is not aware of the

payment amount and payee of each payment or benefit. Plaintiff reserves the right to

supplement this response.

                                   INTERROGATORY NO. 43

       If you are not currently a Medicare beneficiary, do you anticipate becoming one during

the pendency of this litigation? To the extent you become a Medicare beneficiary during the

pendency of this litigation, please be sure to supplement your discovery responses accordingly so

that the defendant can comply with the above Medicare regulations.

RESPONSE:

       Plaintiff refers Defendant to his response to Interrogatory number 42.

       Respectfully submitted, this 19th day of June, 2023.

                                                         Respectfully submitted by,

                                                         /s/ Edward Hardrick
                                                         EDWARD HARDRICK, ESQ.
                                                         Georgia Bar No. 606792
Morgan & Morgan, PLLC                                    Attorney for Plaintiff
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                     IN THE STATE COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA

RONALD WRIGHT,                               )
                                             )
               Plaintiff,                    )       CIVIL ACTION FILE NO.: 2023CV00526
       v.                                    )
                                             )
SANCHEZ ARREDONDO and                        )
COBRA CARRIER, LLC,                          )
                                             )
               Defendants.                   )


PLAINTIFF’S RESPONSE TO DEFENDANTS’ FIRST REQUEST FOR PRODUCTION
                    OF DOCUMENTS TO PLAINTIFF


       COMES NOW Plaintiff, RONALD WRIGHT, in the above-styled civil action, and

serves this, her responses to, Defendants’ First Request for Production of Documents under

O.C.G.A. §§ 9-11-33, 9-11-34.

                                  GENERAL OBJECTIONS

         Plaintiff’s investigation and discovery in this matter are continuing, and Plaintiff

reserves the right to supplement, modify, or amend these responses, if necessary, to conform to

facts and evidence. All rights of the Plaintiff are expressly reserved and nothing in the responses

that follow is intended as or serves as a waiver of any and all rights of the Plaintiff consistent

with the Georgia Civil Practice Act.

       Plaintiff objects to Defendants’ Requests and accompanying instructions and definitions

to the extent that they seek to impose any obligation on the Plaintiff, for supplementation or

otherwise, beyond that required by the Georgia Civil Practice Act.

       Plaintiff objects to Defendants’ Requests to the extent that they seek information or

documents protected by the attorney-client privilege or the work product doctrine, or to the extent
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that they are overly broad or unduly burdensome. Subject to and without waiving the foregoing

objections, Plaintiff responds to each request as follows:

                     REQUEST FOR PRODUCTION OF DOCUMENTS


                                                 1.

       All written statements or reports of any kind prepared by all persons, firms or

corporations who, to your knowledge, have investigated any aspect of or physical object

involved in this case.

RESPONSE:

       All non-privilege documents in Plaintiff’s possession, custody or control are

produced herewith. Plaintiff reserves the right to supplement his response to this Request.



                                                 2.

       All statements, whether written or recorded, which have been obtained by you or

someone acting on your behalf, from any person listed in any responses to Defendant’s First

Continuing Interrogatories to Plaintiff.

RESPONSE:

       Plaintiff does not have any documents in his possession, custody or control

responsive to this Request at this time. Plaintiff reserves the right to supplement his

response to this Request.



                                                 3.

       Please produce all charts, reports, medical records, psychological records, statements,

bills or other documents concerning any medical or psychological examination, treatment or

counseling received by you as a result of the occurrence in question.
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RESPONSE:

       All non-privilege documents in Plaintiff’s possession, custody or control are

produced herewith. Plaintiff reserves the right to supplement his response to this Request.



                                                4.

       If you contend that you have lost any wages as a result of the incident, which is the

subject matter of the instant action, please produce any and all documentation evidencing that

time you claim to have lost from your work and any wages you might have lost as a result

thereof.

RESPONSE:

       Plaintiff does not have any documents in his possession, custody or control

responsive to this Request at this time. Plaintiff reserves the right to supplement his

response to this Request.



                                                5.

       Please produce any and all estimates of repair, repair bills or expenses incurred by you or

on your behalf for damages done to your motor vehicle or the vehicle in which you were riding

and all salvage bids which were submitted on that vehicle after the occurrence in question.




RESPONSE:

       Plaintiff does not have any documents in his possession, custody or control

responsive to this Request at this time. Plaintiff reserves the right to supplement his

response to this Request.
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                                               6.

       Please produce each and every photograph, drawing or graphic representation of any

person, place or thing relating to the occurrence in question, including but not limited to,

photographs of any property damage to Plaintiff’s vehicle.

RESPONSE:

       All non-privilege documents in Plaintiff’s possession, custody or control are

produced herewith. Plaintiff reserves the right to supplement his response to this Request.



                                               7.

       All proofs of loss, Med-Pay applications or claim forms, subrogation agreement,

assignments or any other related insurance documents which you have executed in connection

with any payment made to you by an insurer or other person in connection with the occurrence

which forms the basis of the pending action.

RESPONSE:

       Plaintiff does not have any documents in his possession, custody or control

responsive to this Request at this time. Plaintiff reserves the right to supplement his

response to this Request.



                                               8.

       Please produce all documents reflecting payment to you or on your behalf by any person,

insurance company or other entity, other than this Defendant, for expenses, lost wages or

damages arising from the incident referenced in your Complaint.
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RESPONSE:

       Plaintiff does not have any documents in his possession, custody or control

responsive to this Request at this time. Plaintiff reserves the right to supplement his

response to this Request.

                                                9.

       Please produce each and every document, letter or other tangible item which you contend

evidences any fact or circumstance relating to your claim against Defendant, including, but not

limited to, those documents you plan to produce at trial and specifically identify such documents.

RESPONSE:

       All non-privilege documents in Plaintiff’s possession, custody or control are

produced herewith. Plaintiff reserves the right to supplement his response to this Request.



                                                10.

       If you contend that you have lost any wages as a result of the accident which is the

subject matter of the instant action, please produce copies of your tax returns for the last five

years preceding your response to this Request and, if such documents are not available to you,

complete the attached Request for Copy of Tax Form, Form 4506.

RESPONSE:

       Plaintiff does not have any documents in his possession, custody or control

responsive to this Request at this time. Plaintiff reserves the right to supplement his

response to this Request.

                                                11.

       Please produce each and every document not previously requested which is referenced in

response to Defendant’s First Continuing Interrogatories to Plaintiff.
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RESPONSE:

         All non-privilege documents in Plaintiff’s possession, custody or control are

produced herewith. Plaintiff reserves the right to supplement his response to this Request.



                                                12.

         Please produce all diaries, memoranda, notes or other documents, which were kept or

prepared by you concerning your physical and/or mental condition after the incident that is the

subject matter of your Complaint.

RESPONSE:

         Plaintiff does not have any documents in his possession, custody or control

responsive to this Request at this time. Plaintiff reserves the right to supplement his

response to this Request.

                                                13.

         Please supply a color copy front and back of your driver’s license and/or identification

card.

RESPONSE:

         Plaintiff will supplement his response to this Request.



                                                14.

         Please produce a copy of the front and back of your health insurance card.

RESPONSE:

         Plaintiff will supplement his response to this Request.
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                                             15.

       Please produce copies of any and all medical expenses or bills that you are claiming in

this case with an outline of the specific amounts that have been paid by Medicare. Please also

produce any conditional payment summary that you have been provided through Medicare or the

Medicare secondary payor contractor. If you do not have this document, please make a request

from the Medicare secondary payor contractor to provide this document and produce as soon as

possible.

RESPONSE:

       All non-privilege documents in Plaintiff’s possession, custody or control are

produced herewith. Plaintiff reserves the right to supplement his response to this Request.



       This 19th day of June, 2023.

                                                       Respectfully submitted by,

                                                       /s/ Edward Hardrick
                                                       EDWARD HARDRICK, ESQ.
                                                       Georgia Bar No. 606792
                                                       Attorney for Plaintiff
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